Case 1:13-cr-20345-KMM Document 9 Entered on FLSD Docket 06/11/2014 Page 1 of 1



                         UNITED STATES DISTRICT CO URT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO . 13-CR-20345-M OO RE

 UNITED STATES OF AM ERICAj

 VS.

 HUG O CARVAJAL BARRIOS
 a/k/a ''PoIIo'
              '1

       Defendant.
                                        /


                                  SEALED O RDER
       THIS MATTER is hereby transferred to the Clerk's Fugitive File untilsuch time as

 the Defendant,w ho is a fugitive,is apprehended and broughtforward fortrial.
         DO NE A ND ORDERED in Cham bers,at M iam i,Florida this 11th day of June,

 2014.


                                                      e      '
                                                . MI
                                                   CHA EL M OORE
                                               UNITED STATES DISTRICT JUDGE

 copies furnished to:
 AllCounseland pro se padies ofrecord
